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                             BEFORE THE
                   UNITED STATES JUDICIAL PANEL ON
                      MULTIDISTRICT LITIGATION

In re Air crash over the Java Sea on
January 9, 2021                             MDL-3072



              MEMORANDUM IN SUPPORT OF MOTION TO VACATE
                   CONDITIONAL TRANSFER ORDER

 I.    Introduction
       The SJY-182’s products liability actions filed in Illinois seek to hold the
Boeing Company (“Boeing”) accountable for a product that has caused
significant loss of life and raises important safety questions over a mechanism
currently in place in planes flying over American soil. The SJY-182 actions raise
common questions of law and fact like the 737 MAX litigation: whether Boeing,
an American company with international presence, is introducing a product
into commerce that is defectively designed, manufactured, and modified in
America creating danger in America and worldwide. Though the 737-Max
cases involved Boeing’s MCAS system whereas SJY-182 involves Boeing’s
auto-throttle system, Boeing’s motive, intent, absence of mistake, and
knowledge regarding the MCAS system, the auto-throttle system, and its
product generally are relevant under FRE 404(b) as other act evidence in this
case. For example, without limitation:
   •   737-Max, Lion Air crashed on October 29, 2018.
   •   737-Max Ethiopian Airlines crashed on March 10, 2019.
   •   On January 7, 2021, Boeing was indicted for the 737-Max crashes and
       entered into a deferred prosecution agreement with the Department of
       Justice.
   •   Two days later, SJY-182 crashed.

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      This Court should vacate the Conditional Transfer Order to allow these
actions to proceed to their merits.
II.      Procedural Background
          a. The Tag Along Action
      Plaintiffs Aprillia, et al., filed this action (hereinafter “Aprillia-Boeing I”)
in the Circuit Court of Cook County, Illinois on September 20, 2022, captioned
Aprillia, et al. v. The Boeing Company, Case No. 2022-L-008466.1                  On
September 23, 2023, Plaintiffs voluntarily dismissed this action without
prejudice.2 However, Plaintiffs successfully reinstated this action in the Circuit
Court of Cook County. Judge McKenna of the state court granted Plaintiffs’
motion to vacate the voluntary dismissal in his memorandum opinion and
order entered on June 22, 2023.3 Plaintiffs then filed an Amended Complaint
in the state court on July 14, 20234 and Boeing removed the action to this
Court on July 18, 2023.5 Plaintiffs now seek to remand this case to the State
Court.
          b. The Related Actions
      When Plaintiffs moved to voluntarily dismiss this case on September 23,
2023, they also filed a second complaint in the Circuit Court of Cook County
(hereinafter “Aprillia-Boeing II”), captioned Aprillia, et al. v. The Boeing
Company, Case No. 2022-L-008558.
      On April 10, 2023, the MDL Panel transferred the consolidated cases,
including Aprillia-Boeing II, to the United States District Court for the Eastern

1 Exhibit 1.


2 Exhibits 2 and 3.


3 Exhibit 4.


4 Exhibit 5.


5 Exhibit 6.


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District of Virginia, Alexandria Division, where the consolidated cases are
pending before the Honorable Claude M. Hilton as In Re: Air Crash Into the
Java Sea on January 9, 2021, MDL No. 1:23-MD-3072. Aprillia-Boeing II
remains pending in the Eastern District of Virginia, and Plaintiffs continue to
argue in that forum that Aprillia-Boeing II should be remanded to the Cook
County Circuit Court (where it can be consolidated with this case under 735
ILCS 5/2-1006).6
         c. Update since Original Transfer of 21 Actions
      Since this Court transferred the 21 actions, the plaintiffs who filed claims
in Virginia and Boeing reached a settlement, leaving only the Illinois plaintiffs
(comprising, in part, of the plaintiffs in Aprillia-Boeing II) left in cases against
Boeing arising out of the crash into the Java Sea.7 This bears repeating: Only
plaintiffs who filed in Illinois remain in this case against Boeing.
      There are three SJY-182 actions currently pending in Circuit Court of
Cook County in Chicago, Illinois after they were remanded for lack of
jurisdiction.8
      Separately, facts have been discovered by plaintiffs that Boeing’s
principal place of business was in Chicago Illinois when these actions along



6 There are differences between Aprillia-I and Aprillia-II.
                                                         The September 20,
2023 complaint (now reinstated and pending in this case) was for a total of
16 decedents in the Java Sea aircraft; whereas the September 23 complaint
re-alleges the claims of these 16 decedents and additional claims for 8 more
decedents in this crash. In addition there have been changes in the personal
representatives for the first 16 decedents that are now reflected in the
amended complaint in this case, but not yet reflected in the September 23
complaint (referred to here as Aprillia-Boeing II).

7 Exhibit 7.


8 Riyanto v. Boeing, No. 21-1475, ––– F.Supp.3d ––––, ––––, 2022 WL
16635556 (N.D. Ill. Nov. 2, 2022) (Riyanto I); See also Exhibit 8.

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with the actions currently before the Honorable Claude M. Hilton were filed in
state court.9
      The Honorable Claude M. Hilton has heard arguments, received briefing,
and will decide the issue of whether the pending Illinois actions should be
remanded to state court.10
      The Honorable Edmond E. Chang ordered the parties in this action to file
jurisdictional memorandums with the Court.11 Plaintiffs have filed their request
to remand these actions with the Court.12
      III. The Panel should vacate the Conditional Transfer Order
       (CTO)
   This Panel should vacate the CTO for several reasons.
   One, because the Virginia plaintiffs have settled their actions, there no
longer exists “civil actions…pending in different districts” but only actions in
the Northern District of Illinois.13
   Two, “[t]he prerequisite for a section 1404(a) transfer is that it can only
be a district where the transferred action ‘might have been brought.’” 14 These
actions could not have brought in Virginia because (1) when these actions
were commenced Boeing’s principal place of business was in Chicago, Illinois
and (2) only a judge in the Circuit Cook County, Illinois had authority to
reinstate these actions (which he did) following their dismissal. Also, (3)


9 Exhibit 9.


10 Exhibit 7.


11 Exhibit 10.


12 Exhibit 11.


13 28 U.S. Code § 1407(a).


14 In re Antibiotic Antitrust Actions, 333 F.Supp. 299, 303 (S.D.N.Y.1971).


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Boeing admitted to this Court that the evidence with respect to its product
would primarily come out of Washington. Finally, the personal representatives
named in these actions all have pending estate proceedings in the state of
Washington.15 Virginia has little to no connection to this action.
       Three, this Panel has acknowledged that there were “significant”
jurisdictional issues associated with these actions.16 The jurisdictional issues
are so significant that the Honorable Edmond E. Chang has sua sponte
requested briefing on the issue.17      Although this Panel has no statutory
authority to decide challenges to federal subject-matter jurisdiction,18 that
lack of authority does not totally displace the constitutional command that
“[f]ederal court[s] are courts of limited jurisdiction.”19 Additionally, though
there is a strong preference favoring the transfer of tag-along actions, a
conditional transfer order does not mean that the tag-along action should be
transferred when, as here, there is a single district involved.20


15
     Exhibit 12.
16 In re Air Crash Into Java Sea on January 9, 2021, --- F.Supp.3d ----, 2023

WL 2876934 *2 (M.D.L. April 7, 2023)(“The actions also share significant
threshold questions concerning…whether admiralty or diversity jurisdiction
lies over the actions…”)

17 Exhibit 10.


18 In re: Aqueous Film-Forming Foams Products Liability Litigation, 2023 WL

2875926 *1 (M.D.L. April 10, 2023).

19 Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).


20 See, e.g., In re Accutane Products Liability Litigation, 560 F. Supp. 2d

1370 (J.P.M.L. 2008) (conditional transfer order vacated); In re Ameriquest
Mortg. Co. Mortg. Lending Practices Litigation, 542 F. Supp. 2d 1357
(J.P.M.L. 2008); In re Helicopter Crash Near Cameron, La., 443 F. Supp.
1022, 1023 (J.P.M.L. 1978) (order to show cause vacated and transfer of
tag-along actions denied).


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   For example, the Panel has vacated a CTO when there is a “potentially
dispositive” motion before a district court,21 when there is “unique discovery
and other pretrial proceedings,”22 or when actions are proceeding on parallel
but somewhat different paths.23
   Here, Judge Chang’s sua sponte jurisdictional inquiry and the resolution of
the Virginia cases are unique enough events that support vacating the CTO.
Indeed, part of the reason that this Court transferred the original actions to
the Eastern District of Virginia was because actions were initiated in the state
of Virginia, removed by Boeing, after Boeing claimed that it had changed its
principal place of business from Illinois to Virginia at some point in 2022.24
Facts have now been discovered that either establish (1) Chicago was Boeing’s
principal of business when these actions commenced or (2) Boeing cannot
demonstrate by a preponderance of the evidence that Chicago was not its
principal place of business when these actions commenced.25
   The    Panel      also   transferred   the   actions   in   part   because   of   the
“disagreement” between Illinois and Virginia plaintiffs. 26 There is no dispute
between the plaintiffs because Virginia plaintiffs have settled their actions with
Boeing. The remaining Illinois plaintiffs are collectively working together to
get the cases remanded. (“All Illinois plaintiffs want their cases remanded and
took appropriate steps to move the court for relief.”)

21 Accutane at 1371.


22 Ameriquest Mortg. at 1358.


23 Helicopter Crash at 1023.


24 In re Air Crash Into Java Sea on January 9, 2021, --- F.Supp.3d ----, 2023

WL 2876934 *2 (M.D.L. April 7, 2023).

25 Exhibit 9 at 1.


26 In re Air Crash Into Java Sea at 2.


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   Illinois plaintiffs want their actions remanded to Cook County where
Riyanto I is currently pending. Following remand, they intend to consolidate
their actions with Riyanto I to proceed to the merits of the case. The American
public and the global community which relies on the product at issue in these
products liability actions has a vested interest in ensuring that the auto-
throttle systems currently operating on tens of thousands of planes are safe
and reliable.
   The scrutinizing eyes of an American jury in an American courtroom not
only benefits individual plaintiffs but also each person who encounters a
product as pervasive as defendant’s product. The timing of this crash in light
of serious issues arising with the MCAS system cannot be ignored. It is not a
mere coincidence that a plane crashes two days after Boeing is formally
indicted following its involvement in a month’s long investigation of its MCAS
system. The company’s regulatory, legal, and safety resources were focused
on confronting a Department of Justice investigation. Many planes like the
plane involved in this case were not being used because of COVID-19
shutdowns. When these planes were put into service, there is a likelihood
that airlines sought out the assurance of Boeing regarding its product, a
product that had not been used for months.       These are just some of the
important issues that need to be addressed in an American court of law.
   Four, vacating the CTO will eliminate duplicative discovery, because
discovery can be coordinated with Riyanto I in Cook County. Vacating the CTO
will prevent inconsistent pretrial ruling because the judge in Cook County can
address all pretrial motions including an anticipated motion by Boeing to
dismiss on FNC grounds.27 More important, vacating the CTO will conserve

27 Vivas v. Boeing Co., 392 Ill. App. 3d 644, 657, 331 Ill.Dec. 827, 911

N.E.2d 1057 (2009); Milton v. The Boeing Company, 2023 IL App (1st)
220647 (Ill. App. February 3, 2023); Arik v. Boeing Co., No. 1-10-0750,
2011 IL App (1st) 100750-U, at *2-3 (Ill. App. Ct. Jan. 10, 2012).
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the resources of counsel who has been working with a firm in Chicago since
2021 on these actions.
      IV.    Conclusion
   Plaintiffs respectfully ask that the Panel vacate the CTO for the reasons set
out in this briefing.
   Respectfully submitted, this 23rd day of August, 2023.

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